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 COUNSEL FOR ENTITIES AS DESCRIBED IN DKT.
 NOS. 2718, 2724

                 IN THE UNITED STATES BANKRUPTCY COURT
                   FOR THE NORTHERN DISTRICT OF TEXAS
                             DALLAS DIVISION

 In re:                       §                         Case No. 19-34054-sgj11
                              §
 HIGHLAND CAPITAL MANAGEMENT, §
 L.P.,                        §                         Chapter 11
                              §
       Debtor                 §

                           EXHIBIT AND WITNESS LIST




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          The entities referenced as objectors in Dkt. Nos. 2718 and 2724 (the “Charitable Entity

Objections”), with full reservations of rights as described in the Charitable Entity Objections,

submit the following witness and exhibit list with respect to the Official Committee of Unsecured

Creditors and the Litigation Advisor for Entry of an Order Authorizing the Examination of Rule

2004 Parties pursuant to Rule 2004 of the Federal Rules of Bankruptcy Procedure (Dkt. No. 2620)

(the “Rule 2004 Motion) set for hearing at Thursday, August 19, 2021 at 9:30 a.m. (Central Time)

(the “Hearing”) in the above-styled bankruptcy case (the “Bankruptcy Case”) and specifically

reserve the right to supplement the following at any time before the Hearing.

    A. Witnesses who may called to testify:

             1. Any witness identified by or called by any other party;

             2. Any witness needed for authentication of documents; and

             3. Any witness for impeachment or rebuttal.

    B. Exhibits that may be introduced:

  Exhibit      Description                                                      Offered Admitted

     1.        Declaration of Mark Patrick

     2.        Declaration of Louis M. Phillips

     3.        Second Amended and Restated Service Agreement, Dated
               January 1, 2017 between Highland Capital Management, L.P.,
               and Charitable DAF Fund, L.P., Charitable DAF GP, LLC

     4.        Second Amended and Restated Investment Advisory
               Agreement, Dated January 1, 2017 between Highland Capital
               Management, L.P. and Charitable DAF Fund, L.P., and
               Charitable DAG GP, LLC

     5.        November 30, 2020 Termination Letter Investment Advisory
               Agreement

     6.        November 30, 2020 Termination Letter Service Agreement



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  Exhibit   Description                                                    Offered Admitted

    7.      Shared Resources Agreement effective as of March 1, 2021 by
            and amongst Highland Capital Management, L.P. and
            NexPoint Parties and First Amendment Thereto

    8.      The Official Committee of Unsecured Creditors’ Expedited
            Requests for Production of Documents to Highland

            20-03190-sgj, Dkt. No. 80-29
    9.      The Official Committee of Unsecured Creditors’ Second
            Requests for Production of Documents

            20-03190-sgj, Dkt. No. 80-30
    10.     The Official Committee of Unsecured Creditors’ Third
            Requests for Production of Documents

            20-03190-sgj, Dkt. No. 80-31
    11.     The Official Committee of Unsecured Creditors’ Fourth
            Requests for Production of Documents

            20-03190-sgj, Dkt. No. 80-32
    12.     The Official Committee of Unsecured Creditors’ First
            Requests for Production of Documents to CLO HoldCo, Ltd.

    13.     Responses and Objections to the Official Committee of
            Unsecured Creditors’ First Requests for Production of
            Documents to CLO HoldCo, Ltd. And email transmitting
            service thereof

    14.     July 29, 2020 Email Correspondence from the Debtor to CLO
            HoldCo counsel regarding production to the Debtor

    15.     Final Term Sheet

            Dkt. No. 354-1
    16.     The Official Committee of Unsecured Creditors’ Emergency
            Motion to Compel Production by the Debtor

            Dkt. No. 808
    17.     The Debtor’s Motion for Protective Order

            Dkt. No. 810




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  Exhibit   Description                                                      Offered Admitted

    18.     J. Morris Declaration in Support of the Debtor’s Motion for
            Protective Order (including all exhibits thereto)

            Dkt. No. 811
    19.     The Official Committee of Unsecured Creditors’ Motion for
            Expedited Consideration of its Motion to Compel

            Dkt. No. 814
    20.     Debtor’s Objection to Motion to Compel

            Dkt. No. 845
    21.     The Official Committee of Unsecured Creditors’ Objection to
            Motion for Protective Order

            Dkt. No. 839
    22.     J. Morris Declaration in support of Debtor’s Objection to
            Motion to Compel (and all exhibits thereto)

            Dkt. No. 848
    23.     Official Committee of Unsecured Creditors’ Omnibus
            Response

            Dkt. No. 872
    24.     Transcript of Hearing on July 21, 2020

            Dkt. No. 864
    25.     August 11, 2020 Order on Motion for Clarification

            Dkt. No. 935
    26.     July 13, 2020 Registry Order

            Dkt. No. 825
    27.     Complaint

            20-03195, Dkt. No. 6
    28.     Motion for Preliminary Injunction

            20-03195, Dkt. No. 7
    29.     Disclosures Order

            Dkt. No. 2460




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  Exhibit   Description                                                       Offered Admitted

    30.     Charitable Entity Response to Disclosures Order (and Exhibits
            thereto)

            Dkt. No. 2547
    31.     The Debtor’s Fifth Amended Plan of Reorganization of
            Highland Capital Management

            Dkt. No. 1808
    32.     Notice of Effective Date

            Dkt. No. 2700
    33.     Excerpts from March 27, 2018 Transcript of Hearing in Case
            No. 17-31432-sgj, Dkt. No. 1268

    34.     Quarterly Fee Statements from FTI Consulting

            Dkt. Nos. 570, 883, 1244, 1655, 2221, 2611
    35.     Quarterly Fee Statements from Sidley Austin

            Dkt. Nos. 569. 831, 1296, 1853, 2240, 2585
    36.     Excerpts from Fee Statements

    37.     Dallas Morning News Article on Mary Jalonick

    38.     Any document entered or filed in the Bankruptcy Case,
            including any exhibits thereto

    39.     All exhibits necessary for impeachment and/or rebuttal
            purposes

    40.     All exhibits identified by or offered by any other party at the
            Hearing



                                            Respectfully submitted,

                                            KELLY HART PITRE

                                            /s/ Louis M. Phillips
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                                            Baton Rouge, LA 70801-1916


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